 

Case: 1:17-md-02804-DAP Doc #: 69-2 Filed: 01/11/18 1o0f1. PagelD #: 452

Affidavit of David R. Cohen
Tendered Pursuant to Fed. R. Civ. P. 53

 

STATE OF OHIO )
) SS. AFFIDAVIT
COUNTY OF CUYAHOGA )

David R. Cohen, being first duly sworn according to law, states the following:

l. I am an attorney at law, duly licensed to practice law in the States of Ohio, Colorado, and
New York. My bar admissions are as follows:
Ohio Supreme Court, Atty. No. 0055347 Nov. 18, 1991
Colorado Supreme Court, Atty. No. 022420 Feb. 24, 1993
New York Supreme Court, Atty. No. 5082193 Dec. 5, 2012
United Stated District Court, Northern District of Ohio Dec. 10, 1992
Sixth Circuit Court of Appeals Mar. 2, 1993
United States Supreme Court Jan. 16, 2007
2. [have familiarized myself with the issues and persons involved in the case captioned Jn re:

National Prescription Opiate Litigation, case no. 1:17-MD-2084 (N.D. Ohio). As a result
of my knowledge of that case, I can attest and affirm that there are no non-disclosed grounds
for disqualification under 28 U.S.C. §455 that would prevent me from serving as Special
Master in the captioned matter.

FURTHER AFFIANT SAYETH NAUGHT.
Waid (4 a

David R. Cohen

 

Sworn to before me and subscribed in my presence this 11" day of January, 2018.

 

Notaty Public / oy

 

 

 

 
